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                                                 ORDERED.

       Dated: May 02, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


IN RE:                                                           Case No. 8:18-bk-06229-RCT

RICHARD J. DANNENMILLER                                          Chapter 7
AKA RICK J. DANNENMILLER
AKA RICK DANNENMILLER,

                                                Debtor.
                                ______________________________________/

                     AGREED ORDER CONFIRMING NO STAY IS IN EFFECT
                           AS TO JPMORGAN CHASE BANK, N.A.
                             [Re: 2016 Land Rover Range Rover]

           THIS CAUSE came before the Court upon the Motion for the Entry of an Order
 Confirming No Stay Is In Effect [D.E. #49], filed by JPMorgan Chase Bank, N.A. ("Secured
Creditor") pursuant to negative notice provisions of Local Rule 2002-4. Having considered the
Motion and the absence of any record objection to the relief requested, the Court deems the
Motion to be uncontested. By submitting this Order for entry, Secured Creditor represents that
the Chapter 7 Trustee* has agreed to its entry. The Court makes no determination that Debtor
defaulted on the underlying obligation or as to Secured Creditor’s standing. Accordingly, it is
         ORDERED:



*This case was converted to a case under Chapter 7 of the Bankruptcy Code by Order entered April 17, 2019 (Doc. 51).
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        1.     The Motion is granted.
        2.     The stay imposed pursuant to 11 U.S.C. Section 362 is modified so as to allow
Secured Creditor to complete its repossession of the 2016 Land Rover Range Rover, VIN
SALCP2BG6GH551567 (the “Vehicle”) by selling the Vehicle and applying the proceeds of the
sale of the Vehicle to the amount owed to JPMorgan Chase Bank, N.A. or to proceed in a Court
of competent jurisdiction for the sole purpose of seeking in rem remedies.
        3.     Secured Creditor shall neither seek nor obtain any in personam judgment against
Debtor.
        4.     Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure is not applicable
and Secured Creditor may immediately enforce and implement this order granting relief from
stay.
                                              ###


Order submitted by:
Wanda D. Murray
Attorney for Secured Creditor
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Attorney Wanda D. Murray is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order




DEBTOR ATTORNEY
(via electronic notice)

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DEBTOR

Richard J. Dannenmiller
325 33rd Ave NE
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CHAPTER 7 TRUSTEE
(via electronic notice)

Christine L. Herendeen
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UNITED STATES TRUSTEE
(via electronic notice)

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